Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 1 of 12




            EXHIBIT 7
Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 2 of 12
                     Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 3 of 12
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:18-cv-05945-VC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                     Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 4 of 12
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 5 of 12




           EXHIBIT A
        Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 6 of 12




                                   GENERAL INSTRUCTIONS

        1.      These Requests are intended to cover all documents in your possession, custody

or control, whether located at any of your offices, or at the offices of your successors or assigns,

accountants, agents, employees, directors, officers, representatives, attorneys, assistants, bankers,

brokers, or others, or at any other place. If any document was, but is no longer, in your

possession or subject to your control, or in existence, state whether it (i) is missing or lost; (ii)

has been destroyed; (iii) has been transferred, voluntarily or involuntarily, to others (and if so, to

whom); or (iv) has been disposed of in some other manner.

        2.      If any of the requested documents cannot be disclosed or produced in full,

produce the documents to the extent possible, and specify your reasons for your inability to

produce the remainder, stating whatever information, knowledge, or belief you have concerning

the unproduced portions.

        3.      If any of the documents requested below are claimed to be privileged or are

otherwise withheld, you are requested to provide a privilege log which identifies: (i) the basis for

asserting the claim of privilege, and the precise ground on which the document is withheld; (ii)

the type of document; (iii) the identity of the document’s author(s) and its addressee(s), and

every person who prepared or received the document or any portion thereof; (iv) the relationship

of its author(s) and its addressee(s); (v) the title and other identifying data of the document; (vi)

the creation date, and if applicable latest modification date, of the document; and (vii) the subject

matter of the document and/or any attachment(s) to the document; (viii) the number of pages

comprising the document; and (ix) whether the document is typewritten or handwritten.

        4.      All documents or other things responsive to a Request shall be produced as they

are kept in the usual course of business pursuant to Federal Rule of Civil Procedure 45(e), or

shall be organized and labeled to correspond to the Request to which they are responsive.
        Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 7 of 12




       5.      If it is otherwise not possible to produce any document called for by any Request,

or if any part of any Request is objected to, the reasons for the objection should be stated with

specificity as to all grounds and, for the convenience of the Court and the parties, each Request

should be quoted in full immediately preceding the objection.
       Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 8 of 12




                           DOCUMENTS TO BE PRODUCED

REQUEST FOR PRODUCTION NO. 1:

       Documents submitted to Google to publish the application “Memoji,” offered by

Social Technologies LLC and formerly available on Google Play, including documents

concerning any draft of the “Memoji” application.




REQUEST FOR PRODUCTION NO. 2:

       Documents submitted to Google to publish the application “Memoji - by Social

Technologies LLC” offered by Samuel Ernesto and currently available on Google Play at

https://play.google.com/store/apps/details?id=com.socialTechx.app.memoji, including

documents concerning any draft of the “Memoji - by Social Technologies LLC” application.


REQUEST FOR PRODUCTION NO. 3:

       Documents sufficient to show the download data associated with the application

“Memoji,” offered by Social Technologies LLC and formerly available on Google Play,

including the date of each download and the location from which each download occurred.
       Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 9 of 12




REQUEST FOR PRODUCTION NO. 4:

       Documents sufficient to show the download data associated with the application

“Memoji - by Social Technologies LLC” offered by Samuel Ernesto and currently available

on Google Play at https://play.google.com/store/apps/details?id=com.socialTechx.app.memoji,

including the date of each download and the location from which each download occurred.


REQUEST FOR PRODUCTION NO. 5:

       Documents sufficient to show the date and reason for removing the application

“Memoji” offered by Social Technologies LLC from Google Play.




REQUEST FOR PRODUCTION NO. 6:

       Documents sufficient to show the date and reason for reinstating or not reinstating

the application “Memoji” offered by Social Technologies LLC on Google Play.
       Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 10 of 12




REQUEST FOR PRODUCTION NO. 7:

       Documents sufficient to show the date and reason for removing, if it ever were

removed, the application “Memoji - by Social Technologies LLC” offered by Samuel

Ernesto and currently available at

https://play.google.com/store/apps/details?id=com.socialTechx.app.memoji from Google Play.


REQUEST FOR PRODUCTION NO. 8:

       Documents sufficient to show the date and reason for reinstating or not reinstating, if

it were ever removed and reinstated, the application “Memoji - by Social Technologies

LLC” offered by Samuel Ernesto on Google Play and currently available at

https://play.google.com/store/apps/details?id=com.socialTechx.app.memoji.


REQUEST FOR PRODUCTION NO. 9:

       Documents sufficient to show the date and reason for the application “Memoji - by

Social Technologies LLC” offered by Samuel Ernesto being made available on Google Play

at https://play.google.com/store/apps/details?id=com.socialTechx.app.memoji.


REQUEST FOR PRODUCTION NO. 10:

       Documents concerning any request for download data for the application “Memoji”

offered by Social Technologies LLC, including any requests made by Social Technologies
       Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 11 of 12




LLC, Samuel Bonet, Samuel Ernesto, or any person purporting to act on his, its, or their

behalf, including but not limited to their attorneys, agents, representatives, assigns,

directors, or officers.


REQUEST FOR PRODUCTION NO. 11:

       Documents concerning any request for download data for the application “Memoji -

by Social Technologies LLC” offered by Samuel Ernesto on Google Play and currently

available at https://play.google.com/store/apps/details?id=com.socialTechx.app.memoji,

including any requests made by Social Technologies LLC, Samuel Bonet, Samuel Ernesto,

or any person purporting to act on his, its, or their behalf, including but not limited to their

attorneys, agents, representatives, assigns, directors, or officers.


REQUEST FOR PRODUCTION NO. 12:

       All documents (including communications) provided to or exchanged with any

person related to the application “Memoji” offered by Social Technologies LLC, including

any documents provided to or exchanged with Social Technologies LLC, Samuel Bonet,

Samuel Ernesto, or any person purporting to act on his, its, or their behalf, including but not

limited to their attorneys, agents, representatives, assigns, directors, or officers.
       Case 3:18-cv-05945-VC Document 162-8 Filed 02/05/20 Page 12 of 12



REQUEST FOR PRODUCTION NO. 13:

       All documents (including communications) provided to or exchanged with any

person related to the application “Memoji - by Social Technologies LLC” offered by Samuel

Ernesto on Google Play and currently available at

https://play.google.com/store/apps/details?id=com.socialTechx.app.memoji, including any

documents provided to or exchanged with Social Technologies LLC, Samuel Bonet, Samuel

Ernesto, or any person purporting to act on his, its, or their behalf, including but not limited

to their attorneys, agents, representatives, assigns, directors, or officers.
